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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION
WILLIE CLAUDE PORTER
                              Plaintiff,
v.                                                   Civil Action No.: 3:19 cv 7
DEPUY ORTHOPAEDICS, INC, et al.
                              Defendants.
                     WILLIE CLAUDE PORTER’S MOTION
         FOR VOLUNTARY DISMISSAL CONSISTENT WITH THE REPORT AND
              RECOMMENDATION (ECF No. 35) FILED IN THIS MATTER

               Plaintiff Willie Claude Porter (“Porter”), by counsel, pursuant to FRCP 41(a)(2)

moves the Court to grant him a voluntary dismissal without prejudice of counts I, II, III & VII and

a voluntary dismissal with prejudice of counts IV, V and VI in his claims asserted in the Complaint

against DePuy Orthopaedics, Inc., et al. Porter requests dismissal of this matter consistent with

the Report and Recommendation filed on August 6, 2019 (ECF No. 35). The grounds and reasons

in support of this Motion are set forth in Porter’s Brief in Support filed herewith and incorporated

herein by reference.

       WHEREFORE, Plaintiff Willie Claude Porter, by counsel, respectfully requests that this

Court grant this Motion and enter its Order dismissing without prejudice counts I, II, III, and VII

and dismissing counts IV, V and VI with prejudice of his claims asserted in the Complaint against

DePuy Orthpaedics, Inc, et al.




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                                                             WILLIE CLAUDE PORTER

                                                             /s/ Charlotte P. Hodges
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                                CERTIFICATE OF SERVICE
       The undersigned certifies that the foregoing document was electronically served on the

following counsel of record via the court’s electronic filing system this 12th day of August, 2019:

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                                                     /s/ Charlotte P. Hodges
                                                     Charlotte P. Hodges




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